           Case 3:04-cr-05350-BHS        Document 321      Filed 06/29/05     Page 1 of 2



 1                                                                          Judge Leighton
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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 9
     UNITED STATES OF AMERICA,                 )       NO. CR04-5350RBL
10                                             )
                          Plaintiff,           )
11                                             )
                    v.                         )       PROPOSED ORDER
12                                             )
     TITUS BRIDE,                              )
13                                             )
                          Defendant.           )
14                                                 )
15
            After consideration of the Government’s Motion For Permission to File an
16
     Overlength Brief, the government’s request that it be allowed an additional three (3)
17
     pages is hereby GRANTED.
18
            The government’s response to the defense motion to dismiss indictment can be up
19
     to fifteen (15) pages in length.
20
            DATED this 29th day of June, 2005.
21



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22

23
                                        RONALD B. LEIGHTON
24                                      UNITED STATES DISTRICT JUDGE
25

26
     Proposed by:

27
     s/ Gregory A. Gruber
28   Gregory A. Gruber
     Assistant United States Attorney
     Govt. Order for Permission to File an -- 1                                 UNITED STATES ATTORNEY
     Overlength Brief/U.S. v. Titus Bride/CR04-5350RBL                          1201 P
                                                                                 TACOMA,W
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                                                                                       (253) 428-3800
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     Govt. Order for Permission to File an -- 2                             UNITED STATES ATTORNEY
     Overlength Brief/U.S. v. Titus Bride/CR04-5350RBL                      1201 P
                                                                             TACOMA,W
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